Case 1:19-cr-10459-RWZ Document 1923 Filed 06/01/21 Page 1of3

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

)

)

Vv. ) Criminal No.: 19-10459-RWZ
)

4. JORGE RODRIGUEZ, )
A/K/A “KING G,” )
Defendant. )

UNITED STATES’ MOTION FOR FINAL ORDER OF FORFEITURE

 

The United States of America, by its attorney, Andrew E. Lelling, United States Attorney
for the District of Massachusetts, respectfully moves this Court for the issuance of a Final Order
of Forfeiture in the above-captioned case, pursuant to 18 U.S.C. § 1963, and Rule 32.2(c) of the
Federal Rules of Criminal Procedure. A proposed Final Order of Forfeiture is submitted
herewith. In support thereof, the United States sets forth the following:

1, On June 30, 2020, at a hearing pursuant to Rule 11 of the Federal Rules of
Criminal Procedure, Jorge Rodriguez, a/k/a “King G” (the “Defendant”, pled guilty to Counts
One and Two of the Indictment, pursuant to a written plea agreement that he signed on June 28,
2020. See Docket No. 1097.

2. In Section 7 of the written plea agreement, the Defendant agreed to the forfeiture
of the following:

a) the 2008 Silverado;

b) one 2008 Kawasaki Jetski, VIN: KAW34291C808, Registration MS5122BK
(the “2008 Jetski’); and

c) all funds on deposit in Citizen’s Bank Account number 1321022910, held in the
name of Jorge Rodriguez, less the amount of $4,120.46, which the Parties agree
is not subject to forfeiture (the “Citizen’s Account”)

(collectively, the ‘‘Assets”). Jd. at 6.

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Case 1:19-cr-10459-RWZ Document 1923 Filed 06/01/21 Page 2 of 3

3. The Defendant admitted that the Assets are subject to forfeiture on the grounds
that they constitute:
a) Any interest acquired or maintained in violation of 18 U.S.C. § 1962;
b) Any interest in, security of, claim against, or property or contractual right of any
kind affording a source of influence over, any enterprise established, operated,
controlled, conducted, or participated in the conduct of, in violation of 18 U.S.C.

§ 1962; and

c) Any property constituting, or derived from, any proceeds obtained, directly and
indirectly, from racketeering activity in violation of 18 U.S.C. § 1962

as charged in Count One of the Indictment. Jd. at 6-7.

4. On November 4, 2020, a sentencing hearing was held whereby this Court
sentenced the Defendant to 218 months incarceration, 3 years supervised release, ordered the
Defendant to pay a $200 special assessment, and ordered the Defendant to forfeit the Assets.

See Docket No. 1473.

5. Also on November 4, 2020, this Court issued a Preliminary Order of Forfeiture
against the Assets, pursuant to 18 U.S.C. § 1963 and Rule 32.2(e) of the Federal Rules of
Criminal Procedure. See Docket No. 1461.

6. Notice of the Preliminary Order of Forfeiture was sent to all interested parties
and published on the government website www.forfeiture.gov for thirty (30) consecutive
calendar days, beginning November 17, 2020, and ending on December 16, 2020. See Docket
Nos. 1716 and 1721.

7. No claims of interest in the Assets have been filed with the Court or served on the

United States Attorney’s Office, and the time within which to do so has expired.
Case 1:19-cr-10459-RWZ Document 1923 Filed 06/01/21 Page 3 of 3

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WHEREFORE, the United States requests that this Court enter a Final Order of

Forfeiture against the Assets in the form submitted herewith.

Dated: February 23, 2021

Respectfully submitted,

ANDREW E, LELLING
United States Attorney,

/s/ David G. Lazarus

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